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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



  COMMODITY FUTURES TRADING
  COMMISSION, et al.,                              ORDER GRANTING APPROVAL OF
                                                   CLAIMS OBJECTION RESOLUTION
     Plaintiffs,                                   PROCEDURES AND CLAIMS BAR
                                                   DATE
        v.

   RUST RARE COIN INC., et al.,                    Case No. 2:18-cv-00892-TC-DBP

     Defendants.                                   District Judge Tena Campbell
                                                   Chief Magistrate Judge Dustin B. Pead



        Before the court is the Receiver’s Motion Seeking Approval of Claims Objection

 Resolution Procedures and Claims Bar Date. (ECF No. 453.) The only response or objection to

 the Motion filed, submitted, or served upon the Receiver is Gretchen Howell’s Limited

 Objection to Motion for Approval of Claims Objection Procedures. This order resolves the

 concerns raised in Ms. Howell’s Limited Objection. Based on the Motion and its attached

 exhibits, accounting for Ms. Howell’s Limited Objection, and considering applicable law, the

 record in this case and Hafen v. Howell, Case No. 2:19-cv-813, and for good cause appearing, IT

 IS HEREBY ORDERED that:

        (1) The Motion (ECF No. 453) is GRANTED, except as to the claim of Gretchen

             Howell;

        (2) The form and content of each of the proposed forms attached to the Motion as

             exhibits are APPROVED; and

        (3) The method of notice as described in the Motion is APPROVED.
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       (4) The claims objection and resolution procedure described in the Motion and approved

          herein (the “Claim Objection Procedures”) will not control as to Gretchen Howell or

          her claim submitted on October 4, 2019 (“Gretchen Howell’s Claim”). Although the

          Receiver may list in the Claims Registry his position regarding the status of Gretchen

          Howell’s Claim, neither the Claim Objection Procedure nor this Order shall affect

          Gretchen Howell’s Claim. Any objection the Receiver may have to Gretchen

          Howell’s Claim shall be resolved in Hafen v. Howell, Case No. 2:19-cv-813, based

          upon the pleadings currently of record therein.

       DATED this 31st day of May, 2022.

                                               BY THE COURT:



                                               TENA CAMPBELL
                                               United States District Judge
